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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS


                                            )
MYNETTE TECHNOLOGIES, INC.                  )
and STEVEN M. COLBY,                        )
                                            )       Case No. 16-cv-01647-SGB
                   Plaintiffs,              )
                                            )       Senior Judge Susan G. Braden
       v.                                   )
                                            )
THE UNITED STATES,                          )
                                            )
                   Defendant,               )
                                            )
and                                         )
                                            )
UNISYS CORPORATION,                         )
                                            )
                   Intervenor-Defendant.    )
                                            )




                       JOINT STATEMENT OF COMPLIANCE
                   WITH MANDATORY SETTLEMENT DISCUSSIONS


       Plaintiff Mynette Technologies, Inc., Defendant the United States and Intervenor-

Defendant Unisys Corporation provide the following Joint Statement of Compliance with

mandatory settlement discussions pursuant to Rule 17 of the Patent Rules of the United States

Court of Federal Claims (“PRCFC”).

       The Parties confirm that they met and conferred by telephone on the subject of settlement

within seven (7) days after entry of the Court’s Claim Construction Opinion and Order, issued on

August 17, 2018 (ECF No. 68) in compliance with PRCFC 16(a). Settlement discussions among

the Parties have been conducted since that date and are continuing. The Parties agree that it


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would be appropriate for them to engage in informal discovery relating to the exchange of

documents which they believe may facilitate more detailed and informed settlement discussions.

To this end, the Parties believe they will need 60 days within which to exchange, review and

discuss such documents and will report back to the Court on the status of settlement no later than

October 31, 2018, or earlier if the discussions are successful.



Dated:August 31, 2018                                Respectfully Submitted,


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Department of Justice                                GARY HAUSKEN
                                                     Director, Intellectual Property Staff


                                                     By: /s/ Michel E. Souaya
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                                CERTIFICATE OF SERVICE
       I certify that the foregoing document was served this 31st day of August 2018 via ECF
filing with the Court, on the following person(s):


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